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                        IN THE UNITED STATES DISTRICT COURT                   ,  ,$ ,  !,%!,
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                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                               November 18, 2024
                              CHARLOTTESVILLE DIVISION                         %,,% !, ,,,,,,,,,,
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UNITED STATES OF AMERICA                    )
                                            )
v.                                          )
                                            )
SCOTT HOWARD JENKINS,                       )      Case No. 3:23-cr-00011
                                            )
                      Defendant.            )

                                           ORDER

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,13$57DQG'(1,(',13$577he Clerk of the Court is hereby 25'(5(' to issue the

following subpoenas, to require compliance with respect to document production on or before

November , 2024DWSP:
      A subpoena for the Custodian of Records at Fauquier Health, requiring the production of

       medical documents related to Scott Jenkins’s medical treatment at Fauquier Health for the

       period November 202 through November 14, 2024.

      A subpoena for the custodian of records at UVA Health Culpeper, requiring the production

       of medical documents related to Scott Jenkins’s medical treatment at UVA Health Culpeper

       for the period November 202 through November 14, 2024.

      A subpoena duces tecum for David Miller, MD, the primary care physician who treated

       Scott Jenkins on November 12, 2024. As it relates to the subpoena duces tecum, the

       Government requests all medical documents related to Scott Jenkins’s medical treatment

       by David Miller, MD, for the period of November 2022 through November 14, 2024.
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    A witness subpoena for John Doran, DO, the treating physician for Scott Jenkins at his

      emergency department visit at Fauquier Health on November 12, 2024, to appear

      HLWKHU LQ SHUVRQ RU E\ =RRP for testimony on November 22, 2024;

    A witness subpoena for Will Goodrich, DO, the treating physician for Scott Jenkins at his

      emergency department visit at UVA Health – Culpeper on November 14, 2024, to appear

      HLWKHULQSHUVRQRUE\=RRPfor testimony on November 22, 2024.

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                                                               HON. ROBERT S. BALLOU
                                                        UNITED STATES DISTRICT JUDGE
